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                                                             LUXOFT 000002
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                                                             LUXOFT 000003
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                                                             LUXOFT 000004
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